          Case 1:23-cr-00135-RP Document 102 Filed 04/26/24 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION
United States of America                           §
                                                   §
vs.                                                §      NO: AU:23-CR-00135(1)-RP
                                                   §
(1) Saint Jovite Youngblood                        §

                                ORDER SEQUESTERING JURY

        The evidence having been closed in the above styled case, and after charge of the Court
and submission of the case to the jury;
        IT IS ORDERED that the jury be sequestered during their deliberations from when they
report to the jury room until released from the jury room each day and until released finally by
the Court. While the jury is kept together and not allowed to separate, pursuant to this Order, the
cost of subsistence of said jury, including cost of coffee and other necessaries incurred by said jury
during Court recesses, shall be paid by the United States Government.


            It is so ORDERED this 26th day of April, 2024



                                                       ______________________________
                                                       ROBERT PITMAN
                                                       UNITED STATES DISTRICT JUDGE
